                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )            No. 3:15-CR-56
 v.                                                )
                                                   )
 FRANCISCO JAVIER CASTRO-REYES,                    )            (VARLAN / SHIRLEY)
                                                   )
                       Defendant.                  )



                                MEMORANDUM AND ORDER

                This case came before the Court on June 13, 2016, for a motion hearing on the

 Defendant’s Motion to Appoint New Counsel [Doc. 171], filed on June 7, 2016, and his Motion

 to Extend Plea Deadline [Doc. 172], filed on June 8, 2016. Both of these motions were referred

 [Docs. 173 & 174] to the undersigned on June 8, 2016. See 28 U.S.C. § 636(b). Assistant

 United States Attorney Frank M. Dale, Jr., represented the Government. Attorney Andrew S.

 Roskind appeared with the Defendant, who participated with the aid of an interpreter. The

 motion states that counsel will disclose the issues in an ex parte hearing in order to preserve the

 confidentiality of attorney-client communications.

                The Court conducted a sealed, ex parte hearing in order to learn the nature and

 extent of the problems with the attorney-client relationship. Without going into the confidential

 nature of that discussion, the Court finds that the trust necessary to the attorney-client

 relationship is irretrievably broken. Additionally, the Court finds that the Defendant and Mr.

 Roskind have suffered a breakdown in communication. The Court finds that it is appropriate to




Case 3:15-cr-00056-TAV-DCP           Document 184 Filed 06/15/16            Page 1 of 3      PageID
                                           #: 1624
 have new counsel take a fresh look at this case and advise the Defendant on how to proceed.

 Accordingly, the Court finds that good cause exists to substitute new counsel for Mr. Roskind.

                Based upon good cause shown, the request for substitution of counsel [Doc. 171]

 is GRANTED, and Mr. Roskind is relieved as counsel for the Defendant. See Wilson v.

 Mintzes, 761 F.2d 275, 280 (6th Cir. 1985) (holding that a defendant seeking to substitute

 counsel must show good cause).         The Court recognizes the need for the Defendant to be

 continuously represented by conflict-free counsel. Attorney Donny M. Young was present at the

 hearing and agreed to accept representation of the Defendant. The Court SUBSTITUTES and

 APPOINTS Mr. Young under the Criminal Justice Act (CJA), 18 U.S.C. section 3006A, as

 counsel of record for the Defendant. Mr. Roskind stated that the discovery and information from

 the Defendant’s file would be available to new counsel by the end of the day.

                The Court also addressed the Defendant’s request for an extension of the June 10

 deadline for concluding plea negotiations in this case. The Court finds that Mr. Young needs

 time to review the file, to meet with the Defendant, to meet with the prosecutor, and to determine

 if the Defendant wants to enter into a plea agreement or to proceed to trial. The plea deadline is

 extended to July 1, 2016. All other dates and deadlines, including the July 19, 2016 trial date,

 shall remain the same at this time.

                Accordingly, it is ORDERED:

                (1) The Defendant’s Motion to Appoint New Counsel [Doc. 171]
                is GRANTED. Attorney Andrew S. Roskind is relieved of
                representation of the Defendant. Mr. Roskind is DIRECTED to
                provide the discovery and the Defendant’s file to new counsel as
                expeditiously as possible;

                (2) Attorney Donny M. Young is SUBSTITUTED and
                APPOINTED as the Defendant’s counsel of record under the
                CJA, and
                                                 2




Case 3:15-cr-00056-TAV-DCP             Document 184 Filed 06/15/16          Page 2 of 3     PageID
                                             #: 1625
            (3) The Defendant’s Motion to Extend Plea Deadline [Doc. 172] is
            also GRANTED.           Defendant Castro-Reyes deadline for
            concluding plea negotiations is extended to July 1, 2016.

            IT IS SO ORDERED.

                                        ENTER:

                                             s/ C. Clifford Shirley, Jr.
                                        United States Magistrate Judge




                                           3




Case 3:15-cr-00056-TAV-DCP     Document 184 Filed 06/15/16            Page 3 of 3   PageID
                                     #: 1626
